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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,

 v.                           CASE NO. 8:06-CR-279-T-17MAP

JORGE ENRIQUE VALENCIA-
VERGARA.

                                    /


                                        ORDER


       This cause is before the Court on:

       Dkt. 390      Order
       Dkt. 395      Motion to Reduce Sentence (Pro Se)

       The Court construes Defendant Valencia-Vergara’s Motion to be a £>ro §e
 request for reconsideration of the Court’s Order (Dkt. 390) in which the Court denied
 Defendant Valencia-Vergara’s Motions to reduce sentence.


       Defendant Jorge Enrique Valencia-Vergara seeks review of his sentence.
 Defendant Valencia-Vergara was sentenced on May 11, 2007 to 168 months of
 incarceration on Counts 1 and 2, concurrent, to be followed by 60 months of supervised
 release. (Dkts. 258, 261).


       The Government filed a Notice of Maximum Penalty, elements of the offense,
 personalization of elements and factual basis on September 9, 2006. (Dkt. 68). This
 Notice reflects that Counts 1 and 2 of the Indictment are punishable by a mandatory
 minimum term of imprisonment of 10 years up to life imprisonment, a fine of
$4,000,000, a term of supervised release of at least 5 years, and a special assessment
of $100.00. Defendant Valencia-Vergara asserts that he was informed that
 Defendant’s maximum sentence would run only ten years. Defendant Valencia-
Vergara may have misunderstood the term “mandatory minimum.” The Notice entered
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 by the Government informs Defendant that his term of incarceration for Counts 1 and 2
 would extend from, at a minimum, ten years up to life imprisonment.


         Before Defendant Valencia-Vergara entered a conditional plea, Defendant
 Valencia-Vergara moved to dismiss the Indictment due to outrageous government
 conduct. (Dkt. 70). Defendant’s Motion was referred to the assigned Magistrate Judge,
 who conducted an evidentiary hearing and entered a Report and Recommendation.
 (Dkt. 80). Defendant Valencia-Vergara objected to the Report and Recommendation;
 the Court overruled Defendant’s objections and adopted the Report and
 Recommendation. Defendant Valencia-Vergara’s Motion to Dismiss was denied. (Dkt.
 167).


         Defendant Valencia-Vergara asserts that, at sentencing, Defendant Valencia-
 Vergara was told that the burning of the vessel would affect his sentence. Defendant
 Valencia-Vergara asserts that other vessels were burned during the same period, and
 Defendant Valencia-Vergara should have received the same amount of time others
 received for the same offense.


         The Court has reviewed Defendant Valencia-Vergara’s PSR. Defendant
 Valencia Vergara was represented by counsel at every stage of this case. At
 sentencing, Defendant Valencia-Vergara raised the following objections:


         1. Paragraphs 24, 28, 31 and 58 (USSG Secs. 2D1.1(b)(7) and 5C1.2 -
         Safety Valve);

         2. Paragraphs 15, 26, 28, 31 and 58 (USSG Sec. 3B1.2, mitigating role).

At sentencing, the Court overruled Defendant Valencia Vergara’s objections. The Court
 denied Defendant Valencia Vergara’s oral motion for downward departure to 120
 months. (Dkt. 259).


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       The Court notes that in August, 2007, Defendant Valencia-Vergara approached
 the Government (Dkt. S-5); the Government declined Defendant Valencia-Vergara’s
 request, and explained the reason for the denial (Dkt. S-7).


        Defendant Valencia Vergara appealed his conviction and sentence. On appeal,
 Defendant Valencia Vergara asserted that the Court erred in denying Defendant’s
 Motion to Dismiss the Indictment, that the Court erred in denying Defendant Valencia
 Vergara a mitigating role reduction, and that the Court erred in denying Defendant
 Valencia Vergara safety valve relief. The Eleventh Circuit Court of Appeals affirmed
 Defendant’s conviction and sentence. (Dkt. 297).


       There were eight codefendants in this case. On January 30, 2007, the captain of
 the vessel, Defendant Micolta, was sentenced to 210 months of incarceration, to be
 followed by 60 months of supervised release. Unlike Defendant Valencia-Vergara,
 Defendant Micolta entered into a plea agreement. The record of this case explains the
 basis for 5K1.1 or Rule 35 relief as to the codefendants of Defendant Valencia-Vergara.


       On January 1, 2016, the Court notified Defendant that the Office of the Federal
 Defender would not be filing a motion for sentence reduction under Amendment 782,
 and extended the time for Defendant Valencia-Vergara to file a further Motion. (Dkt.
 375). On March 17, 2016, the Court denied Defendant Valencia-Vergara’s Motions
 (Dkts. 344, 358, 361, 381), finding that Defendant Valencia-Vergara is not eligible for a
 reduction in sentence based on the amended guidelines, and adopting the position of
 the Probation Office that the Amendment does not have the effect of lowering
 Defendant’s sentencing range. (Dkt. 390).


        Defendant Valencia-Vergara has not established any basis for the Court to
 modify Defendant’s sentence, based on reconsideration of Defendant’s role in the
whole circumstances, which was affirmed by the Eleventh Circuit Court of Appeals, or

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 Defendant Valencia-Vergara’s criminal history. Accordingly, it is


         ORDERED that Defendant Valencia-Vergara’s Motion to Reduce Sentence (Dkt.
 395) is denied.


         DONE and ORDERED in Chambers in Tampa, Florida on this       of July,
 2016.




 Copies to:                        ■
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